
THE defendants were indicted in the District Court of Staunton, for an assault and battery, &amp;c. on Charles Rogers and his wife; Rogers was the prosecutor, and petitioned the general court to change the venue to the Sweet Springs, or elsewhere. The application was founded on an affidavit, that the public mind had been prejudiced against the prosecution by the industrious misrepresentations of the defendants and their adherents. The defendants were likewise heard by affidavit, and other evidence, tending to prove that the application fora change of venue was intended to force the defendants into a compromise that had been offered; and that the public mind about the Sweet Springs had been prejudiced against the defend-dants.
The court, consisting of judges Jones, Nelson and White, June 14th, 1803, decided that the venue should be changed to the district court of Charlottesville.
